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6                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF WASHINGTON
7

8     JEFF NICHOLS AND GILBERT MYERS,                    No.:

9     Plaintiffs,                                        COMPLAINT
10
      v.
11
      JIM WALSH, Representative for the 19th
12    Legislative District of Washington State, in
      his official capacity,
13

14    Defendant.

15

16                             COMPLAINT FOR INJUNCTIVE RELIEF

17                                              Introduction
18
                 Plaintiffs Jeff Nichols and Gilbert Myers (“Plaintiffs”), bring this complaint against
19
      Representative Jim Walsh (“Defendant”), and allege the following:
20

21          1.         This is a freedom of speech and right to petition case brought under the First and

22   Fourteenth Amendments to the United States Constitution; and Article I, Sections 3, 4, and 5 of
23   the Washington State Constitution for declaratory and injunctive relief against Representative
24
     Jim Walsh (“Representative Walsh” or the “Representative”) in his official capacity as
25

26
     [Nichols & Myers v. Walsh]                                           BILLIE R. MORELLI, PLLC
27   COMPLAINT- 1                                                        9805 SAUK CONNECTION ROAD
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     Representative of the 19th District of Washington State, arising out of his unlawful censorship of
1

2    Plaintiffs on his “Jim Walsh” Facebook page.

3           2.       Social media has recently become a crucial venue for public officials to
4
     disseminate news and information, and an equally crucial opportunity for the public to express
5
     their thoughts and opinions in response to such news. As the Supreme Court stated last year,
6
     Facebook and other social media platforms provide “perhaps the most powerful mechanisms
7

8    available to a private citizen to make his or her voice heard.” Packingham v. North Carolina, 137

9    S. Ct. 1730, 1737 (2017). The Supreme Court additionally stated that these platforms are
10
     “revolution[ary]” in their ability to increase civic engagement with elected officials through the
11
     instantaneous and direct communication opportunities provided by these platforms. Id. at 1736.
12
     This ability of social media platforms such as Facebook to serve as forums for direct
13

14   communication between constituents and public officials is analogous to speech that, until

15   recently, was only attainable for people who were physically gathered in the same space, such as
16
     in a public park or town hall. Lyrissa Lidsky, Public Forum 2.0, 91 B.U. L. Rev. 1975, 2005
17
     (2011). As such, cyberspace has become one of the most important places for the exchange of
18
     views, one which enables a person “to become a town crier with a voice that resonates farther
19

20   than it could from any soapbox” and must not be unlawfully restricted. Reno v. American Civil

21   Liberties Union, 117 S. Ct. 2329, 2344, 521 U.S. 844, 870 (1997).
22
            3.       Representative Walsh’s “Jim Walsh” Facebook page is a significant source of
23
     information and news for the people of Washington State, as well as a popular forum for speech
24
     by, to, and about the Representative. By banning access to this forum and deleting comments
25

26   based on the viewpoint of the speaker, Representative Walsh has violated plaintiffs’ right to free

27
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     expression, to petition the government for a redress of wrongs and grievances, and to hear the
1

2    banned speech that would have otherwise been engaged in, distorting the expressive forum..

3    Courts have “repeatedly affirmed the First Amendment significance of social media, holding that
4
     speech utilizing Facebook is subject to the same First Amendment protections as any other
5
     speech.” Davison v. Loudoun Cty. Bd. of Supervisors, 227 F. Supp. 3d 605, 611 (E.D. Va. 2017).
6
            4.       The Representative’s operation of his “Jim Walsh” Facebook page constitutes a
7

8    limited public forum under the First Amendment. The Representative’s Facebook page is

9    accessible to the public, including those without a Facebook page; in regard to interactions on the
10
     page, it is accessible for all Facebook users, regardless of whether the user “likes” or “follows”
11
     the page.
12
            5.       The Representative’s “Jim Walsh” Facebook page is dynamic, with each of his
13

14   posts gaining numerous comments, likes, and shares. The page is used by the Representative to

15   promote his policies, and to encourage his supporters to take action.
16
            6.       Plaintiffs are Representative’s constituents who have been banned from
17
     interacting on his “Jim Walsh” Facebook page and has had their comments deleted due to their
18
     criticism of the Representative and his policies. As a result of their criticism, Plaintiffs have been
19

20   impeded from commenting on the Representative’s posts or having any type of discussions on

21   his posts. As a limited public forum, especially one in which individuals are participating in
22
     political speech, the Plaintiffs are protected by the First Amendment, and the Representative’s
23
     actions constitute unlawful, viewpoint-based exclusion.
24
            7.       Plaintiffs respectfully ask that the Court declare that the viewpoint-based
25

26   exclusion of the Plaintiffs violates the First Amendment of the United States Constitution, in

27
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     addition to Article I of the Washington State Constitution, and order the Defendant to cease his
1

2    unlawful practice of censoring constituent comments, restore the Plaintiffs’ posting privileges

3    and undertake review of all people whose posting privileges have been censored, and restore all
4
     of those who have been unlawfully banned for commenting.
5
            8.       Plaintiffs seek a declaration and judgment under 28 U.S.C. § 2201 and RCW
6
     7.24.010 that Defendant’s censorship of Plaintiffs on his “Jim Walsh” Facebook page, in the form
7

8    of viewpoint-based exclusion, is an unconstitutional violation of Plaintiffs rights to freedom of

9    speech and to petition the government under the First and Fourteenth Amendments to the United
10
     States Constitution and Article I of the Washington Constitution. Plaintiffs also seek preliminary
11
     and permanent injunctive relief in the form of an order enjoining the Representative from
12
     continuing this unlawful censorship of constituents.
13

14                                        Jurisdiction and Venue

15          9.        This Court has subject matter jurisdiction over Plaintiffs’ federal constitutional
16
     claims pursuant to 28 U.S.C. §§ 1331 and 1343, and 42 U.S.C. §§ 1983 and 1988, as this action
17
     arises under the Constitution and laws of the United States.
18

19
            10.       This Court has subject matter jurisdiction over Plaintiffs’ Washington state

20   constitutional claims pursuant to 28 U.S.C. § 1367, as those claims are substantially related,
21   both legally and factually, to the federal constitutional claims upon which original jurisdiction is
22
     premised.
23
            11.       This Court has personal jurisdiction over the Defendant because he is a resident
24

25
     of Washington State.

26          12.       This Court has jurisdiction to grant declaratory and injunctive relief pursuant to
27
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     28 U.S.C. § 2201-02, 42 U.S.C. § 1983, and RCW 7.24.010.
1

2           13.       Venue in this district is proper under 28 U.S.C. § 1391(b)(1) and (2) because the

3    Defendant is a resident of the district, and a substantial part of the events or omissions giving
4
     rise to the claim occurred within this district.
5
            14.       This case is properly filed in Tacoma because the Plaintiffs were subject to
6
     unlawful action in Grays Harbor and Thurston Counties.
7

8                                                  Parties

9           15.       Plaintiff Jeff Nichols is a resident of Montesano, Washington, which is a part of
10
     Grays Harbor County.
11
            16.       Plaintiff Gilbert Myers is a resident of Aberdeen, which is a part of Grays Harbor
12

13
            17.       Defendant Representative Jim Walsh is a Representative of the 19th Legislative

14   District of Washington State. He is a resident of Aberdeen, Washington, with offices in Aberdeen
15   and Olympia, Washington.
16
            18.       At all times relevant to this complaint, Representative Walsh was acting under
17
     color of state law.
18

19                                            Factual Allegations

20          A.        Facebook
21
            19.       Facebook. Facebook is a social media platform with approximately 2.23
22
     billion monthly users worldwide, including more than 200 million users in the United States
23
     and Canada. The site allows users to post messages and photos, to respond to or share others’
24

25   messages or photos, and to interact with other Facebook users in relation to those posts.

26   Facebook is located on the internet at https://www.facebook.com
27
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            20.       Page. A Facebook page is created by a Facebook user. The user is then able
1

2    to interact with other Facebook users through that page. Facebook explains “Pages” in its online

3    Help Center at Page, located at https://www.facebook.com/help/282489752085908.
4
            21.       Post. A post is a written message that is shared with a Facebook user’s
5
     friends, followers, or the public, depending on the user’s privacy settings. Posts may also be
6
     written directly on other Facebook user’s pages when that user’s settings allow. These posts
7

8    can include but are not limited to written messages, photos and videos.

9           22.       Following. Facebook users can subscribe to other users’ posts by “following”
10
     a user’s page. Users see all messages that are posted by or shared by the users or pages they
11
     have followed. Facebook explains “Following” in its online Help Center at What does it mean
12
     to follow someone or a page?, located at https://www.facebook.com/help/279614732052951.
13

14          23.       Commenting. Facebook users can post comments on their own or other

15   user’s posts, and also post comments in reply other’s comments on those posts. Currently, to
16
     comment on another user’s post, one clicks the “Comment” graphic that appears directly under the
17
     post. Facebook explains “Commenting” in its online Help Center at What does Comment With
18
     Friends on a Page Post mean?, located at https://www.facebook.com/help/224022941703605.
19

20          24.       Sharing. Facebook users can share another user’s post, which publishes the

21   other user’s post on the user’s own timeline, among their own posts. Currently, to share
22
     another user’s post, one clicks the “Share” graphic that appears directly under the post.
23
     Facebook explains “Sharing” another user’s posts in its online Help Center at When someone
24
     re-shares something I posted, who can see it?, located at
25

26   https://www.facebook.com/help/569567333138410.

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            25.       Reacting. Facebook users also have the ability to react to posts using graphics
1

2    without replying or posting their own comment. Currently, to react to another user’s post, one

3    clicks the “Like” graphic that appears directly under the post, then chooses to click one of six graphical
4
     “emoticons” to represent their “reaction.” Facebook explains “Reacting” in its online Help Center at
5
     How do I react to a post or comment?, located at https://www.facebook.com/help/933093216805622.
6
            26.       The “Like,” “Comment,” and “Share” clickable graphics, as well as the six
7

8    graphical “emoticons” referenced in the directly-above three previous paragraphs appear to a

9    Facebook user as shown below:
10

11

12

13          27.       Banning. Users have the ability to ban other users from their page. When a

14   user is banned from a page, they lose their ability to post to that page, react to posts on that
15
     page, or comment on the posts on that page. Facebook explains “banning” in its online Help
16
     Center at How do I ban or unban someone from my Page?, located at
17
     https://www.facebook.com/help/185897171460026.
18

19          28.       Town Hall. In 2017, Facebook released a new feature called “Town Hall” as a

20   to tool to help users find and contact their government representatives and to increase users’
21
     “civic engagement” with public officials on the social media platform. Facebook explains this
22
     feature in its online Help Center at What is Town Hall?, located at
23
     https://www.facebook.com/help/278545442575921.
24

25          29.       To participate in “Town Hall,” Facebook has requirements for the government

26   official’s Facebook page. One requirement for “Town Hall” is that the official’s page must be
27
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     categorized as “Politician” or “Government Official,” and must accurately reflect the official’s
1

2    current government position.

3           30.       Constituent Badges. Through the “Town Hall” feature, Facebook users may
4
     publicly identify themselves to their government officials and the public through the use of a
5
     “constituent badge” graphic. When a user “opts in” to the use of a “constituent badge,” the
6
     graphic appears by their name whenever interacting on the Facebook page of a government
7

8    official that represents the area of the location the user entered when opting in. Facebook

9    explains this feature in its online Help Center at What is a constituent badge?, located at
10
     https://www.facebook.com/help/157047021494292. The constituent badge graphic is shown
11
     below, as is the appearance of a user’s choice to opt in to the feature:.
12

13

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16
            B.         “Jim Walsh” Facebook page
17
            31.       Representative Jim Walsh created, owns, and operates a Facebook page
18
     entitled “Jim Walsh.” The page was created on November 3rd, 2015. The page is located at
19

20   https://www.facebook.com/pg/Jim-Walsh-943288459098642.

21          32.       “Jim Walsh” is used by the Representative and his staff for sharing
22
     information such as news, press releases, announcements and action items to everyone with
23
     access to Facebook, including his followers, supporters, critics, and constituents.
24
            33.       “Jim Walsh” is not Representative Walsh’s personal page. Representative
25

26   Walsh’s personal Facebook page is entitled “James Walsh” and is located on the internet at

27
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     https://www.facebook.com/james.walsh.92167.
1

2           34.       The Representative’s “Jim Walsh” Facebook page is categorized as a

3    “Politician.” Representative Walsh participates in the “Town Hall” Facebook feature through
4
     his “Jim Walsh” Facebook page. The listing for the “Jim Walsh” page accurately reflects his
5
     current elected government position as a Representative for the 19th Legislative District of
6
     Washington State, as shown below:
7

8

9

10
            35.       The avatar Representative Walsh uses on Facebook and has used since July
11

12
     2, 2017, when interacting with other Facebook users through his “Jim Walsh” Facebook page

13   consists of a photograph of himself seated at his station on the floor of the Washington State

14   House of Representatives chamber, as shown here:
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            36.       “Jim Walsh” features many posts written in the first-person from Jim Walsh,
1

2    indicating that Representative Walsh controls the page. Representative Walsh uses “Jim Walsh”

3    to perform government business, including providing information and announcements about his
4
     legislative work. In one such post, the Representative describes legislation he was then drafting as
5
     the Representative of the 19th Legislative District. That post, from August 16, 2018, is shown
6
     below:
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25          37.       In another post, Representative Walsh describes legislation he intends to push for

26   as the Representative for the 19th Legislative District. That September 28, 2018, post is shown
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     COMPLAINT- 10                                                    9805 SAUK CONNECTION ROAD
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     below:
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21          38.       In another post, Representative Walsh provides an internet link from the official
22
     jimwalsh.houserepublicans.wa.gov website for Facebook users to download a copy of his official
23
     schedule as a Representative for the 19th Legislative District. That April 17, 2018, post is shown
24
     below:
25

26

27
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7           39.       In another post, Representative Walsh shared a post from Brian Blake, and
8
     referred to Mr. Blake as his “legislative colleague.” The text portion of that August 4, 2018, ,
9
     post is shown below:
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11

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27
     [Nichols & Myers v. Walsh]                                        BILLIE R. MORELLI, PLLC
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            40.       In another post, Representative Walsh quotes an individual whom he refers to as
1

2    a “constituent.”. That August 14, 2018, post is shown below

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            41.       In another post, Representative Walsh posts a photograph, giving credit for it to
12
     his “legislative aide.” That April 20, 2018, post is shown below:
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            42.       In another post, Representative Walsh shared photographs of himself
1

2    participating in an official “ribbon cutting” at a local courthouse in his official capacity as a

3    Representative of the 19th Legislative District.. That August 6, 2018, post is shown below:
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21
            43.       “Jim Walsh” is interactive. It is both a platform for constituents to voice their
22
     gratitude or concerns, as well as one in which Representative Walsh can engage with
23

24
     constituents. Facebook page owners and operators have the option to allow other Facebook

25   users to post directly to that page. The “Jim Walsh” Facebook page is currently operated to

26   allow any Facebook user create a post directly onto the “Jim Walsh” page, even users who
27
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     are not “followers” of the page, except for those users that have been “banned” from the
1

2    page. When a non-banned user views the “Jim Walsh” page, the “Create Post” option is

3    shown at the beginning of the “timeline,” as shown below:
4

5

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            44.       When a banned user views the “Jim Walsh” Facebook page, the “Create
17
     Post” option is not shown at the beginning of the “timeline.”
18
            45.       When a user who is not banned from the “Jim Walsh” Facebook page views a
19

20   post from that page, the user has the option to comment, react, or share, as shown below. Users

21   who have opted in to the constituent badge feature with an address within the 19th Legislative
22
     District of Washington State see the constituent badge graphic and a message reminding the
23
     user that they are commenting as Representative Walsh’s “Town Hall” constituent, as shown
24
     below:
25

26

27
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15
             C. Defendant’s banning of Mr. Nichols from the “Jim Walsh” Facebook page
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17           46.       Mr. Nichols lives in the 19th Legislative District of Washington and is a

18   constituent of Representative Walsh.
19
             47.       Mr. Nichols began interacting with Representative Walsh by following his
20
     “Jim Walsh” Facebook page in 2016, and then commenting on and reacting to select posts
21
     from that page.
22

23           48.       Mr. Nichols opted in to the constituent badge feature such that the constituent

24   badge graphic would show by his avatar when interacting with the “Jim Walsh” Facebook
25
     page.
26

27
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            49.        On September 21, 2018, the “Jim Walsh” Facebook page made a post that
1

2    was written in the first-person from Representative Walsh on the subject “why [he] want[s] to

3    be a legislator in Olympia.”
4
            50.        Mr. Nichols commented on this post. Representative Walsh initially
5
     commented back to Mr. Nichols on that post and the two had a direct dialog via comments on
6
     that post.
7

8           51.        Mr. Nichols final comment on that post included the following internet link

9    that allowed Facebook users reading the comment to download a digital PDF file titled
10
     “Washington State Labor Council, AFL-CIO – 2018 LEGISLATIVE VOTING RECORD:
11
     http://www.wslc.org/wp-content/uploads/2018/04/18-WSLC-Voting-Record.pdf. That
12
     Legislative Voting Record provided information on 20 bills voted on by Washington State
13

14   Senators in 2018, 22 bills voted on by Washington State Representatives in 2018, how each

15   Senator and Representative voted on those bills, and the Washington State Labor Council
16
     opinion on whether that vote was “right” or “wrong.” The Legislative Voting Record file
17
     indicates how Representative Walsh voted on the 22 House bills, but incorrectly listed him as
18
     the Representative from the 16th Legislative District of Washington State.
19

20          52.        Soon after Mr. Nichols posted that link, all of Mr. Nichols comments and

21   reactions were removed from the “Jim Walsh” Facebook page, including the comment with
22
     that link, and Mr. Nichols was then banned from the “Jim Walsh” Facebook page.
23
            53.        That September 21, 2018, post, as it currently appears on Facebook, is shown
24
     below. Included with the post are comments the Representative has allowed to remain
25

26   viewable by the public. There are comments from Facebook users identified with a

27
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     constituent badge, comments from Facebook users who are not identified with a constituent
1

2    badge, comments from the Representative himself, and a comment towards the bottom from

3    a Facebook user identified with a constituent badge directed at Mr. Nichols thanking for
4
     information he had shared as part of his comments he made.
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     [Nichols & Myers v. Walsh]                                     BILLIE R. MORELLI, PLLC
     COMPLAINT- 18                                                  9805 SAUK CONNECTION ROAD
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     [Nichols & Myers v. Walsh]                            BILLIE R. MORELLI, PLLC
     COMPLAINT- 19                                         9805 SAUK CONNECTION ROAD
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     [Nichols & Myers v. Walsh]                            BILLIE R. MORELLI, PLLC
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            54.       The below graphic shows how a post from the “Jim Walsh” Facebook page

22   currently looks to Mr. Nichols since he was banned from that page. Note that the graphic
23   indicates comments and reactions have been made on the post, but there is no option for Mr.
24
     Nichols to do either of those activities, and there is no message or graphic indicating he would
25
     be commenting as Representative Walsh’s constituent:
26

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            55.       Mr. Nichols’ comments on posts on the “Jim Walsh” page were not
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     scandalous, libelous, defamatory, pornographic, off topic, duplicative, obscene or offensive.
14

15          56.       Defendant’s banning of Mr. Nichols from the “Jim Walsh” Facebook page

16   prevents or impedes him from participating in the Representative’s posts and engaging in
17
     discussion with Representative Walsh and with other constituents.
18
            57.       Mr. Nichols has informed Representative Walsh that banning Mr. Nichols
19
     violates the First Amendment and asked him to unban him from the “Jim Walsh” Facebook
20

21   page. Mr. Nichols remains banned from that page.

22          58.       Defendant’s banning of Mr. Nichols from the “Jim Walsh” Facebook page
23
     prevents Mr. Myers, other constituents of Representative Walsh, and the public from hearing
24
     the speech of Mr. Nichols would have engaged in had he not been banned, distorting the
25
     expressive forum Representative Walsh creates through his “Jim Walsh” Facebook page.
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     COMPLAINT- 22                                                   9805 SAUK CONNECTION ROAD
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             D. Defendant’s banning of Mr. Myers from the “Jim Walsh” Facebook page
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2           59.       Mr. Myers lives in the 19th Legislative District of Washington and is a

3    constituent of Representative Walsh.
4
            60.       Mr. Myers and Representative Walsh know each-other personally, outside of
5
     Facebook through each of their active participation in the political process in Grays Harbor
6
     County and Washington State.
7

8           61.       Mr. Myers began interacting following Representative Walsh’s “Jim Walsh”

9    Facebook page sometime prior to October 2018.
10
            62.       On or about October 17, 2018, Mr. Myer was banned from the “Jim Walsh”
11
     Facebook page.
12
            63.       Mr. Myers made no comments on the “Jim Walsh” page that were
13

14   scandalous, libelous, defamatory, pornographic, off topic, duplicative, obscene or offensive.

15          64.       Defendant’s banning of Mr. Myers from the “Jim Walsh” Facebook page
16
     prevents or impedes him from participating in the Representative’s posts and engaging in
17
     discussion with Representative Walsh and with other constituents.
18
            65.       Representative Walsh banning of Mr. Myers is a view-point based restriction
19

20   on his participation in a limited public forum because he did not want Mr. Myers to engage in

21   discussion with himself or other Facebook users that effectively criticized the Representative
22
     or his political positions as a Representative for the 19th Legislative District of Washington.
23
            66.       Defendant’s banning of Mr. Myers from the “Jim Walsh” Facebook page
24
     prevents Mr. Nichols, other constituents of Representative Walsh, and the public from
25

26   hearing the speech of Mr. Myers would have engaged in had he not been banned, distorting

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     the expressive forum Representative Walsh creates through his “Jim Walsh” Facebook page.
1

2                                             Causes of Action

3       Count I – Violation of the First Amendment and 42 USC § 1983 (Free Expression)
4
            67.       Plaintiff repeats the allegations set forth above as if fully set forth herein.
5
            68.       Defendant’s banning of Plaintiffs from the “Jim Walsh” Facebook page
6

7    violates Plaintiffs’ First Amendment right to freedom of expression because it imposes a

8    viewpoint-based restriction on the Plaintiffs’ participation in a limited public forum.
9
            69.       By acting under the color of state law to deprive Plaintiffs of rights
10
     guaranteed by the Constitution and laws of the United States, the Defendant has violated and
11
     continues to violate 42 U.S.C. § 1983.
12

13          70.       As a result, Plaintiffs are entitled to declaratory and injunctive relief to restore

14   his access to the Defendant’s “Jim Walsh” Facebook page.
15
       Count II – Violation of the First Amendment and 42 USC § 1983 (Right to Petition)
16
            71.       Plaintiffs repeat the allegations set forth above as if fully set forth herein.
17

18          72.       Defendant’s banning of the Plaintiffs from the “Jim Walsh” Facebook page

19   violates Plaintiffs’ First Amendment right to petition the government for redress of grievances
20   because it imposes a viewpoint-based restriction on the Plaintiffs’ ability to petition the
21
     government for redress of grievances.
22
            73.       By acting under the color of state law to deprive Plaintiffs of rights
23

24   guaranteed by the Constitution and laws of the United States, the Defendant has violated and

25   continues to violate 42 U.S.C. § 1983.
26          74.       As a result, Plaintiffs are entitled to declaratory and injunctive relief to restore
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     [Nichols & Myers v. Walsh]                                           BILLIE R. MORELLI, PLLC
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     his access to the Defendant’s “Jim Walsh” Facebook page.
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2    Count III – Violation of Art. I, Sec. 4 of the Washington Constitution (Right to Petition)

3           75.       Plaintiffs repeat the allegations set forth above as if fully set forth herein.
4
            76.       Article I, Section 4 of the Washington Constitution affirmatively grants that,
5
     “[t]he right of petition and of the people peaceably to assemble for the common good shall
6

7    never be abridged.”

8           77.       Defendant’s banning of the Plaintiffs from the “Jim Walsh” page violates
9    Article I, Section 4 of the Washington State Constitution because it imposes a viewpoint-
10
     based restriction on the Plaintiffs’ participation in a limited public forum.
11
            78.       As a result, Plaintiffs are entitled to declaratory and injunctive relief under
12

13   RCW 7.24.010 to restore his access to the Defendant’s “Jim Walsh” Facebook page.

14   Count IV – Violation of the First Amendment and 42 USC § 1983 (Distortion of Forum)
15
            79.       Plaintiffs repeat the allegations set forth above as if fully set forth herein.
16
            80.       Defendant’s banning of the Plaintiffs from the “Jim Walsh” Facebook page
17
     violates the Plaintiffs’ First Amendment right participate in and hear the speech being spoken in a
18

19   limited public forum because it imposes a viewpoint-based restriction on the Plaintiffs’ ability

20   to petition the government for redress of grievances, distorting the content of the expressive
21
     forum.
22
            81.       By acting under the color of state law to deprive Plaintiffs of rights
23
     guaranteed by the Constitution and laws of the United States, the Defendant has violated and
24

25   continues to violate 42 U.S.C. § 1983.

26          82.       As a result, Plaintiffs are entitled to declaratory and injunctive relief to restore
27
     [Nichols & Myers v. Walsh]                                            BILLIE R. MORELLI, PLLC
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     his access to the Defendant’s “Jim Walsh” Facebook page.
1

2        Count V – Violation of Art. I, Sec. 5 of the Washington Constitution (Speak Freely)

3           83.       Plaintiffs repeat the allegations set forth above as if fully set forth herein.
4
            84.       Article I, Section 5 of the Washington Constitution affirmatively grants that,
5
     “[e]very citizen may freely speak, write and publish on all subjects, being responsible for the
6

7    abuse of that right.”

8           85.       Defendant’s banning of the Plaintiffs from the “Jim Walsh” page violates
9    Article I, Section 5 of the Washington State Constitution because it imposes a viewpoint-
10
     based restriction on the Plaintiffs’ participation in a limited public forum.
11
            86.       As a result, Plaintiffs are entitled to declaratory and injunctive relief under
12

13   RCW 7.24.010 to restore his access to the Defendant’s “Jim Walsh” Facebook page.

14                        Count VI – Declaratory Judgement and Injunction
15
            87.       Plaintiffs repeat the allegations set forth above as if fully set forth herein.
16
            88.       28 U.S.C. § 2201(a) provides that “[i]n a case of actual controversy within its
17

18
     jurisdiction, . . . any court of the United States, upon the filing of an appropriate pleading,

19   may declare the rights and other legal relations of any interested party seeking such

20   declaration, whether or not further relief is or could be sought.”
21
            89.       RCW 7.24.010 provides the judicial branch the “power to declare rights,
22
     status and other legal relations whether or not further relief is or could be claimed.” As
23

24
     described above, Plaintiffs allege that Defendant’s actions violate the First Amendment to the

25   United States Constitution and Article I of the Washington State Constitution.

26          90.       The Defendant has refused to reinstate Plaintiffs’ commenting privileges.
27
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            91.       There is an actual controversy between the parties as to whether Defendant’s
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2    actions violate the United States and Washington Constitutions.

3           92.       Plaintiffs seek a declaration that Defendant’s censorship of posts on his “Jim
4
     Walsh” Facebook page that are critical of him and/or his policies is unconstitutional and
5
     violates Plaintiffs’ rights to freedom of speech and petition under the First and Fourteenth
6
     Amendments to the United States Constitution and Article I of the Washington State
7

8    Constitution.

9                                        REQUEST FOR RELIEF
10
            WHEREFORE, Plaintiffs respectfully request the following relief:
11
            a.       Declare Defendant’s viewpoint-based censorship of the Plaintiffs from
12

13   Defendant’s “Jim Walsh” Facebook page to be unconstitutional;

14          b.       Enter an injunction requiring Defendant to cease his unlawful practice of
15
     censoring Plaintiffs’ comments on his Facebook page; restore the posting privileges of Plaintiffs;
16
     and restore the posting privileges of all of those who have been unlawfully banned on the basis of
17
     viewpoint from commenting;
18

19          c.       Award Plaintiffs nominal damages and compensatory damages.

20          d.       Award Plaintiffs their reasonable attorney fees and costs; and
21
            e.       Grant any additional relief as may be just and proper.
22
     Respectfully submitted this October 24, 2018.
23
                                                           ____________________________________
24
                                                                   Billie R. Morelli, WSBA No. 36105
25                                                            Attorney for Plaintiffs Nichols and Myers
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     [Nichols & Myers v. Walsh]                            BILLIE R. MORELLI, PLLC
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